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                             EXHIBIT F
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              COMPREHENSIVE                           -~.




              REHABILITATION
                EVALUATION
                                Containing


  History of Present Illness
  Medical Records Review
  Patient Observation
  Diagnostic Impression
  Assessment
  Vocational Position Statement
  AMA Impairment Rating
  Functional Assessment
  Continuation of Care
  Summary Report
  Photographs
  Documentation

                                    On


               Shane Loveland
  Prepared by:
  Craig H. Lichtblau, M.D.
  Board Certified Physical Medicine & Rehabilitation
  Fellow, International Academy of Independent Medical Evaluators
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             Continuation of Care
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              METHODOLOGY
                    Prim um Non Nocere

  The methodologies utilized to produce a Continuation of Care
  plan require a three-stage process, which consists of collecting
  facts, formulating opinions, and producing conclusions. This
  methodology requires sample data from sources that are
  geographically proximate to the patient's primary residence or
  location of probable care. This three-stage methodology has
  been documented in peer review journal articles published in
  2014 and 2015 by The American Academy of Physical Medicine
  and Rehabilitation (Volume 6, 184-187, February 2014 and P.M.R.
  February 2015, 68-78). The Continuation of Care portion of this
  report was produced following the exact Continuation of Care
  methodology that has been peer reviewed, published and
  accepted, February 2014 and 2015, by The American Academy of
  Physical Medicine and Rehabilitation.

  The need and frequency for future medical treatment and care is
  based on my own medical knowledge, training, and clinical
  practice experience, which exceeds 26 years and over 100,000
  hours (Tab #10), as well as peer reviewed literature (Tabs #4
  through #9). The costs are confirmed by the patient's treating
  physicians (Tabs #2 and $3).

  It is my medical opinion that these costs do not take into
  account the costs that are associated with medical
  complications, which include but are not limited to, deep vein
  thrombosis, pulmonary embolus, pneumonia, urinary tract
  infections, cellulitis, osteomyelitis, sepsis, cardiac arrhythmia,
  cardiac arrest, global anoxic brain injury, cerebrovascular
  accident, renal failure, need for renal transplant, liver failure,
  need for liver transplant.

 If the patient suffered one or a combination of the above medical
 complications, then the cost for future medical care would be
 substantially greater.
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                                      Continuation of Care


Date:         06/09/17
Patient:      Shane Loveland



Medical Care          Period Over Which            Frequency          Cost Per
                      Services Provided                              Visit/Item


Medical Care:

Neurologist                    Life                2-4x Yr and Prn    200.00/0V *


Cardiologist                   Life                 Prn                 384.00/0V


Orthopedic Surgeon             Life                 Prn              182. -278.00/0V


Gastroenterologist             Life                  Prn             150.-410.00/0V


Physiatrist                    Life                2-4x Yr & Prn      100.00/0V

Pulmonologist                  Life                 Prn              150. -410.00/0V

Ophthalmologist                 Life               1xYr&Prn           100.00/0V



*Per Dr. Morgan LaHolt (Neurologist). See Documentation, (Tab #2).
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Continuation of Care
Page Two


Medical Care        Period Over Which       Frequency           Cost Per
                    Services Provided                          Visit/Item



Medical Care (Continued):

ENT                           Life          Prn                171.00/0V

Primary Care                  Life         2-4x Yr Et Prn    100.-400.00/0V*

Neurosurgeon                  Life          Prn               90.-531.00/0V

Urologist                     Life         1x Yr Et Prn       120.-300.00/0V


Diagnostic Tests:

Electroencephalogram            Life        Prn                    871.00


EKG                             Life         Prn                    41.00

Echocardiogram                  Life         Prn                 763. -876.00


MRI of Brain                    Life          Prn                641.-1, 156.00


MRI - Lumbar                    Life          Prn                  642.00
      Hips/Pelvis                                                  629.00 ea




*Per Dr. Chad Murray (Primary Care). Please see Documentation, (Tab #2).
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Continuation of Care
Page Three


Medical Care         Period Over Which     Frequency              Cost Per
                     Services Provided                             Visit/Item


Diagnostic Tests: (Continued)

X-ray Thoracolumbar             Life          1 xYr/Prn             85.00

X-ray Lumbosacral               Life            1x Yr/Pr            85.00

X-ray Chest/Lung                Life             Prn                68.00

Barium Swallow                  Life            1x Yr/Prn           306.00

Renal Scan/Ultrasound           Life             Prn                289.00


*CBC with Differential          Life           2x Yr&. Prn          32.00

*Hepatic Panel                  Life            1x/4 Months         41.00

*Comp. Metabolic Panel          Life           1x/Ev 3 Months       46.00

*Serum Level of                 Life           1x Ev 3-6 Months     91.00-
Anti-Seizure Medication                                             100.00

Routine Urinalysis              Life            2-3 Yr&. Prn         31.00

Urine Culture &. Sensitivity    Life              Prn               64.00



*If patient is on anti-seizure medication such as Dilantin, Tegretol, Depakote or
Phenobarbital.
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Continuation of Care
Page Four


Medical Care         Period Over Which        Frequency      Cost Per
                     Services Provided                      Visit/Item


Possible Surgical Procedures and Potential Complications:

Pulmonary            Life

Urological           Life                   COSTS
Thrombophlebitis     Life
                                            CANNOT
Renal
 Complications       Life
                                       BE DETERMINED
Seizure Activity     Life
                                         WITH MEDICAL
Hydrocephalus        Life
Requiring VP
Shunt                                    CERTAINTY.

Infection of Shunt

Shunt Replacement

Endoscopy

Aspiration Pneumonia

Urosepsis
